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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
         v.                                  :       Case No. 22-MJ-00184-01
                                             :
BENJAMIN COLE                                :
                                             :
                        Defendant.           :

                                             ORDER
       Based upon the representations in the Consent Motion to Continue and to Exclude Time

Under the Speedy Trial Act, and upon consideration of the entire record, it is hereby

       ORDERED that the Motion is GRANTED; it is further

ORDERED that the currently scheduled status hearing on Tuesday, February 14, 2023, be

continued for good cause to 7XHVGD\, March 1, 2023, atSP; and it is further

       ORDERED that the time between Tuesday, February 14, 2023, and 7XHVGD\, March

1, 2023, shall be excluded from calculation under the Speedy Trial Act, see 18 U.S.C.

§3161(h)(7)(A).

       The Court finds that the ends of justice served by the granting of such a continuance

outweighs the best interests of the public and the defendants in a speedy trial, and a continuance

will promote continuity of counsel, provide the defendants additional time to review the pre-

indictment discovery and to continue negotiating potential pretrial resolutions.

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                                      THE HONORABLE 52%,100(5,:($7+(5
                                      UNITED STATES MAGISTRATE JUDGE
